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CSD 1183 [07/01/18]
Name, Address, Telephone No. & I.D. No.

Gary E. Slater/Bar No. 99141
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15373 Innovation Drive, Suite 210
San Diego, CA 92128
Tel: 858/675-0755 Fax: 858/675-0733

              UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
               325 West F Street, San Diego, California 92101-6991


In Re

CORE SUPPLEMENT TECHNOLOGY, INC.
                                                                                        BANKRUPTCY NO.   17-06078


Tax I.D.(EIN)#:                    /S.S.#:XXX-XX-                      Debtor.



                                                 NOTICE OF HEARING AND MOTION
 TO:
        ALL PARTIES AND THEIR ATTORNEYS OF RECORD:




         You are hereby notified that on April 9, 2020               , at 10:00 a .m, in Department 1 ,Room 218
 of the Jacob Weinberger United States Courthouse, located at 325 West F Street, San Diego, California 92101-6991, there
 will be a hearing regarding the motion of Chapter 7 Trustee Richard M Kipperman                            , Movant, for
        MOTION BY CHAPTER 7 TRUSTEE, RICHARD M KIPPERMAN TO DISGORGE COMPENSATION PAID TO
        CHAPTER 11 CHIEF RESTRUCTURING OFFICER, RICHARD FEFERMAN




        Any opposition or other response to this motion must be served upon the undersigned and the original and one copy
of such papers with proof of service must be filed with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San
Diego, California 92101-6991, not later than fourteen (14)1 days from the date of service.

DATED: March 3, 2020


                                                                     /s/ GARY E. SLATER
                                                                      [Attorney for] Moving Party




1Depending on how you were served, you may have additional time for response. See FRBP 9006.


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                                                     CERTIFICATE OF SERVICE

          I, the undersigned whose address appears below, certify:

          That I am, and at all relevant times was, more than 18 years of age;

         That on 3rd day of March                 , 2020 , I served a true copy of the within NOTICE OF MOTION AND
HEARING, together with the following pleadings [describe any other papers] on the following persons listed below by the
mode of service shown below:
List additional papers:
 1. MOTION BY CHAPTER 7 TRUSTEE RICHARD M KIPPERMAN, TO DISGORGE COMPENSATION PAID TO
 CHAPTER 11 CHIEF RESTRUCTURING OFFICER, RICHARD FEFERMAN;2. DECLARATION OF CHAPTER 7
 TRUSTEE RICHARD M KIPPERMAN IN SUPPORT 3. REQUEST FOR JUDICIAL NOTICE IN SUPPORT

 1.       To Be Served by the Court via Notice of Electronic Filing (“NEF”):

         Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
 court via NEF and hyperlink to the document. On March 3, 2020                 , I checked the CM/ECF docket for
 this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
 Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

      ✔
      □         Attorney for Debtor (or Debtor), if required:

                SEE ATTACHMENT




      ✔
      □
                Chapter 7 Trustee:



      ✔
      □                                         □                                         □
                 For Chpt. 7, 11, & 12 cases:       For ODD numbered Chapter 13 cases:        For EVEN numbered Chapter 13 cases:
                 UNITED STATES TRUSTEE              THOMAS H. BILLINGSLEA, JR., TRUSTEE       DAVID L. SKELTON, TRUSTEE
                 ustp.region15@usdoj.gov            Billingslea@thb.coxatwork.com             admin@ch13.sdcoxmail.com
                                                                                              dskelton13@ecf.epiqsystems.com




 2.       Served by United States Mail:

        On March 3, 2020                   , I served the following person(s) and/or entity(ies) at the last known
 address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
 United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

 ✔
 □        Attorney for Debtor (or Debtor), if required:

          SEE ATTACHMENT




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 3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

        Under Fed.R.Civ.P.5 and controlling LBR, on March 3, 2020                    , I served the following person(s)
 and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
 transmission, by overnight delivery and/or electronic mail as follows:

 ✔
 □      Attorney for Debtor (or Debtor), if required:

        SEE ATTACHMENT




        I declare under penalty of perjury under the laws of the United States of America that the statements made
        in this proof of service are true and correct.



        Executed on March 3, 2020                                  /s/ Gina R. Lucas
                               (Date)                               (Typed Name and Signature)

                                                                    15373 Innovation Drive, Suite 210
                                                                     (Address)

                                                                    San Diego, CA 92128
                                                                     (City, State, ZIP Code)




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                                ATTACHMENT TO CERTIFICATE OF SERVICE
PARTIES WITH E-MAIL ADDRESSES SERVED VIA COURT’S NOTICE OF ELECTRONIC FILING (“NEF) OR BY
ELECTRONIC MAIL, AND ALL OTHER PARTIES SERVED VIA U.S. MAIL OR OVERNIGHT MAIL AS INDICATED
BELOW:

VIA U.S. FIRST CLASS MAIL:

 Core Supplement Technology, Inc.
 4645 North Ave
 Oceanside, CA 92056
 Debtor

VIA FIRST-CLASS MAIL and (E-mail)

 Richard Feferman
 Corporate Recovery Associates, LLC
 3830 Valley Centre Drive, #75-152
 San Diego. California 92130
 E-mail:richard@crarecovery.com

VIA ELECTRONIC (E-mail) Only:

 Melissa Bustarde, Esq.
 Mayfield Bustarde, LLP
 462 Stevens Avenue, Ste. 303
 Solana Beach, CA 92075
 E-mail: melissa@bmbr.com

VIA ELECTRONIC-NOTICE OF ELECTRONIC FILING (NEF):


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 Counsel for Joseph O'Dea

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